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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION

                                       )
JUDY BLACKBURN,                        )
                                       )
        Plaintiff,                     )
                                       )
v.                                     ) No. 2:07-cv-02815-JPM-dkv
                                       )
SHELBY COUNTY,                         )
                                       )
        Defendant.                     )
                                       )

     ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND
            DENYING AS MOOT DEFENDANT’S MOTION TO STRIKE


        Pending before the Court is Defendant Shelby County’s

(“Defendant”) Motion for Summary Judgment (Docket Entry (“D.E.”)

67), filed June 7, 2010.1         On June 26, 2010, Plaintiff Judy

Blackburn (“Plaintiff”) filed a response in opposition (D.E.

70).2    On July 12, 2010, Defendant replied to Plaintiff’s

response and moved the Court to strike portions of Plaintiff’s

response.     (D.E. 87.) Plaintiff responded to Defendant’s Motion

to Strike on July 26, 2010. (D.E. 88.)

        For the following reasons, the Court GRANTS Defendant’s

Motion for Summary Judgment.         Defendant’s Motion to Strike is

1
      Defendant attached its Memorandum in Support of its Motion for Summary
Judgment (“Def.’s Mem.”) and its Statement of Undisputed Material Facts in
Support of its Motion for Summary Judgment (“Def.’s UMF”) to the Motion for
Summary Judgment. (See D.E. 67-1; D.E. 67-2.)
2
      Plaintiff also filed a Response to Defendant’s Statement of Undisputed
Material Facts (Pl.’s Resp. to Def.’s UMF”) (D.E. 71 at 1-34) in which she
included a section titled “Plaintiffs’ [sic] Enumerated Material Facts.”
(D.E. 71 at 34-53).
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DENIED as MOOT.

I. PROCEDURAL BACKGROUND

        This case arises out of Plaintiff’s employment with the

Shelby County Sheriff’s Office (“SCSO” or “Defendant”).

Plaintiff is a fifty-four year old female Sergeant with the

SCSO.    She asserts claims for sex discrimination, age

discrimination, hostile work environment, and retaliation

pursuant to Title VII of the Civil Rights Act of 1964 (“Title

VII”), 42 U.S.C. § 2000e et seq., the Age Discrimination in

Employment Act of 1967 (“ADEA”), 29 U.S.C. § 621 et seq., and

the Tennessee Human Rights Act (“THRA”), Tenn. Code Ann. § 4-21-

101 et seq. Plaintiff also asserts a state law claim for

intentional infliction of emotional distress.

        Plaintiff filed two separate complaints against Defendant,

the first on December 18, 2007 with facts related to her first

EEOC charge (D.E. 1), and the second on August 29, 2008 with

facts related to her second EEOC charge (D.E. 1 in Case No.

2:08-cv-02565-JPM-egb).      On May 18, 2009, the Court consolidated

these cases. (D.E. 17.) On July 29, 2009, Plaintiff filed an

Amended Complaint, consolidating the allegations from her

separate complaints and including facts related to her third

EEOC charge.    (See generally Am. Compl. (D.E. 25).)

        Defendant   now   moves    for       summary   judgment     on   all      of

Plaintiff’s claims.       (Def.’s Mem. 1, 25.)


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II. STANDARD OF REVIEW

     Under Federal Rule of Civil Procedure 56(a), summary

judgment is proper “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.”      Fed. R. Civ. P. 56(a); see also

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).            So long as

the movant has met its initial burden of “demonstrat[ing] the

absence of a genuine issue of material fact,” Celotex, 477 U.S.

at 323, and the nonmoving party is unable to make such a

showing, summary judgment is appropriate.         Emmons v. McLaughlin,

874 F.2d 351, 353 (6th Cir. 1989).       In considering a motion for

summary judgment, however, “the evidence as well as all

inferences drawn therefrom must be read in a light most

favorable to the party opposing the motion.”          Kochins v. Linden-

Alimak, Inc., 799 F.2d 1128, 1133 (6th Cir. 1986); see also

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

587 (1986).

     When confronted with a properly supported motion for

summary judgment, the nonmovant must support the assertion that

a genuine dispute exists as to one or more material facts by:

     (A) citing to particular parts of materials in the
     record,      including     depositions,       documents,
     electronically   stored  information,    affidavits   or
     declarations, stipulations (including those made for
     purposes    of    the   motion    only),     admissions,
     interrogatory answers, or other materials; or (B)
     showing that the materials cited do not establish the


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     absence . . . of a genuine dispute, or that an adverse
     party cannot produce admissible evidence to support
     the fact.

Fed. R. Civ. P. 56(c)(1)(A)-(B); see also Abeita v. TransAm.

Mailings, Inc., 159 F.3d 246, 250 (6th Cir. 1998).              However,

“‘[t]he mere existence of a scintilla of evidence in support of

the plaintiff’s position will be insufficient.’”           Street v. J.C.

Bradford & Co., Inc., 886 F.2d 1472, 1479 (6th Cir. 1989)

(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252

(1986)).

     A genuine issue of material fact exists for trial “if the

evidence [presented by the nonmoving party] is such that a

reasonable jury could return a verdict for the nonmoving party.”

Anderson, 477 U.S. at 248.      The inquiry is “whether the evidence

presents a sufficient disagreement to require submission to a

jury or whether it is so one-sided that one party must prevail

as a matter of law.”     Id. at 251-52.

III. FACTUAL BACKGROUND

     Plaintiff’s allegations center around three EEOC charges.

The Court addresses these allegations in turn.

     A. Allegations Arising from First EEOC Charge

     Plaintiff began her employment with the SCSO as a deputy

sheriff in 1987. (Pl.’s Resp. to Def.’s UMF ¶ 1.)              Plaintiff was

promoted to the rank of Sergeant in February 1997.             (Id. ¶ 2.)

After successive assignments to the Narcotics Division from 1992


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to 1997, the Internal Affairs Division in 1997, and the

Detectives Division from 1997 to 2000, Plaintiff was transferred

to the Narcotics Division as the Case Management Sergeant (“CM

Sergeant”) on October 26, 2000. (Dep. of Judy Blackburn, March

19, 2010 (“March Dep.”) (D.E. 67-4) 28-29; Pl.’s Resp. to Def.’s

UMF ¶¶ 11-13.) Plaintiff held the position of CM Sergeant in the

Narcotics Division until April 22, 2006. (Id. ¶ 15.)

      The Narcotics Division is divided into enforcement teams

and specialized units that provide support for the enforcement

teams, including the Equipment/Technical Unit, the

Seizure/Forfeiture Unit, the Intelligence Unit, and the Case

Management and Clerical Support Unit. (Pl.’s Resp. to Def.’s UMF

¶ 4.) Each of these support units is supervised by a sergeant.

(Id.) The position of Case Management Sergeant, to which

Plaintiff was transferred in 2000, supervises the Case

Management and Clerical Support Unit. (Id. ¶ 5; Def.’s Ex. No.

D454.3)   As the CM Sergeant for the Narcotics Division, Plaintiff

was in a support position, responsible for the case tracking

system, narcotics state prosecutorial cases, internal clerical


3
      For ease of reference to the large number of exhibits Defendant
attached to its Motion for Summary Judgment, the Court will cite to the Bates
number in the lower right hand corner of Defendant’s exhibits. (“Def.’s Ex.
No.”) The exhibits are docketed as exhibits to Defendant’s Motion for Summary
Judgment and Defendant’s Reply: Bates number D110–D184 (D.E. 67-6); Bates
number D193–D259 (D.E. 67-7); Bates number D271–D296 (D.E. 67-8); Bates
number D297–D321 (D.E. 67-9); Bates number D326–D351 (D.E. 67-10); Bates
number D352–D376 (D.E. 67-11); Bates number D377–D399 (D.E. 67-12); Bates
number D400–D427 (D.E. 67-13); Bates number D428–D457 (D.E. 87-2); Bates
number D458–D478 (D.E. 87-3).


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operations of the narcotics division, and the supervision of the

civilian secretarial staff. (Pl.’s Resp. to Def.’s UMF ¶¶ 8,

16.) The job description for CM Sergeant lists sixteen

additional duties, the last of which is: “Available for Narcotic

Enforcement Duties.” (Def.’s Ex. No. 454.)

       Plaintiff’s allegations of sex and age discrimination in

her first EEOC complaint arise from her assignment to the

Narcotics Division as the CM Sergeant under the supervision of

Lieutenant David Ducrest (“Lt. Ducrest”), the Executive Officer,

and Captain Wayne Goudy (“Capt. Goudy”), the Commanding Officer.4

(April 26, 2006 EEOC Charge No. 490-2006-01126 (“First EEOC

Charge”) (D.E. 25-1); Pl.’s Resp. to Def.’s UMF ¶ 23; David

Ducrest’s Verified Statement (“Ducrest Statement”) (D.E. 67-3) ¶

14.)

       Prior to June 2005, Plaintiff was often permitted to

perform enforcement duties and go out on special details. (Pl.’s

Resp. to Def.’s UMF ¶ 32.)       After Capt. Goudy was assigned to

Narcotics in June 2005, however, Plaintiff alleges her requests

to participate on special details or to help as extra manpower

for enforcement duties were denied and ignored. (Aff. of Pl.

Judy Blackburn (“Blackburn Aff.”) (D.E. 71-1) 1; Pl.’s Resp. to

Def.’s UMF ¶ 32.) Plaintiff identified three instances when her
4
      Plaintiff’s immediate supervisor in Narcotics was Lt. Ducrest. Lt.
Ducrest reported to Capt. Goudy. (Def.’s UMF ¶ 23.) Capt. Goudy reported to
Inspector Bill Allen (“Insp. Allen”), the commander of Special Operations.
(Id.)


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requests were denied: a federal roundup on October 25, 2005, a

saturation on February 17, 2006, and a federal roundup on March

22, 2006.5 (Pl.’s Resp. to Def.’s UMF ¶¶ 33, 36.) On another

occasion, when Lieutenant Richard Nelson (“Lt. Nelson”) asked

Lt. Ducrest if Plaintiff could fill in for an enforcement team

member who was going to be out for the week, Lt. Ducrest said

no, explaining that Chiefs Odom and Wing would have a “fit” if

they found out that Lt. Nelson had a “sergeant over the

secretaries” out there. (Pl.’s Resp. to Def.’s UMF ¶ 45;

Blackburn Aff. 4-5.)      Plaintiff alleges that, on other

occasions, she was given excuses such as “[y]ou’re too old to

ride with the cowboys,” “you’ll get dirty,” or “you might have a

heart attack.” (Blackburn Aff. 3.) On each of the dates

Plaintiff alleges she was denied enforcement duties, she worked

a regular eight-hour shift performing her duties as the CM

Sergeant. (Pl.’s Resp. to Def.’s UMF ¶ 38.)

      Between December 2005 and February 2006, Plaintiff alleges

she was denied training opportunities that other male sergeants

were given, including supervisory management training in

December 2005 and meth training in February 2006. (Am. Compl. 4;

First EEOC Charge.) According to Plaintiff, though she requested

5
      Though Plaintiff also alleges that she was denied the opportunity to
participate in an ALERT (“Area Law Enforcement Retailers Team”) search
warrant on January 11, 2006 (Pl.’s Resp. to Def.’s UMF ¶¶ 33, 36), Defendant
produced competent evidence that no patrol officers or sergeants assigned to
the Narcotics Division worked on an ALERT search warrant on that date.
(Ducrest Statement ¶¶ 26-39).


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to participate in training exercises that would have kept her

enforcement tactics up to date, her requests were denied.

(Blackburn Aff. 4.)

     Plaintiff also alleges that she was “denied proper

supervisory evaluation process by Lt. Ducrest and Capt. Goudy.”

(Blackburn Interrogs. Resp. 4.) According to Plaintiff, her

“supervisory issues regarding clerical personnel were not

supported and in fact ignored” even though “[o]ther male

supervisors of Plaintiff’s rank were given full attention for

their units.” (Am. Compl. 5; Blackburn Aff. 2-3; Blackburn’s

Interrogs. 3-4.)

     In February 2006, Plaintiff went to the Special Operations

Office to meet with Insp. Allen. (March Dep. 130.)             Plaintiff

was very upset and explained to Insp. Allen that she was upset

over the way she was being treated in the Narcotics Division.

(Id. 130-31.)    She also expressed her unhappiness about her

supervisory and case management problems, and the unfair

treatment she felt she was receiving. (Id. at 131.) Though she

did not make a direct request for curative action, Plaintiff did

tell Insp. Allen that she would not have come to him if she did

not want him to fix all the problems she was having in the

Narcotics Division. (Id.)

     Around March 28, 2006, Plaintiff had a meeting with Lt.

Ducrest in which she complained about her working conditions.


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(March Dep. 141.)    She informed Lt. Ducrest that she felt she

was being pushed out and ignored and “if they didn’t want [her]

there then all they had to do was tell [her]” and “[she] would

ask for a transfer or they could transfer [her] out; one means

or the other.” (Id. at 141, 178.) Lt. Ducrest responded “okay”

and told Plaintiff to put in a transfer request. (Id. at 141.)

Following the meeting, Plaintiff did not put in for a transfer,

but instead requested a meeting with Insp. Allen and Capt.

Goudy. (Id.) Lt. Ducrest contends that, during this meeting,

Plaintiff indicated that she wanted to transfer out of

Narcotics. (Ducrest Statement ¶ 68.)          Lt. Ducrest conveyed this

information to Insp. Allen and Capt. Goudy. (Id.)

        In the week preceding April 17, 2006, Lt. Ducrest

approached Sergeant Ray Collier (“Sgt. Collier”) and asked if

Sgt. Collier was willing to swap his position in the Detectives

Division with Plaintiff. (Pl.’s Resp. to Def.’s UMF ¶ 28.) Sgt.

Collier responded that he would be glad to take the position of

CM Sergeant. (Id.) Lt. Ducrest advised his superiors of Sgt.

Collier’s willingness. (Id.)

        On April 17, 2006, Plaintiff met with Lt. Ducrest, Capt.

Goudy, and Insp. Allen. (Ducrest Statement ¶ 69.) Plaintiff

informed her supervisors that she could not continue working

under the same conditions in Narcotics Division.            (March Dep.

178.)    She admits that it is possible that she discussed a


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transfer during that meeting and referred back to her previous

statement that “if they didn’t want [her] there, [she] would ask

for a transfer or they could transfer [her] out.” (Id.) During

this meeting, Capt. Goudy stated to Plaintiff: “If my dog has a

problem, I take him to a vet. You’ve got a problem. You need to

see somebody.” (Id. at 153.)

      On April 19, 2006, Lt. Ducrest gave Plaintiff a transfer

letter dated April 18, 2006, notifying Plaintiff that she was

being swapped with Sgt. Collier and being reassigned to the

Detectives Division effective April 22, 2006.             (Def.’s Ex. No.

421; Blackburn Interrogs. 4.) Plaintiff alleges that she was

demoted to the Detectives Division and put in a less appealing

position.    (Am. Compl. 6; Pl.’s Resp. 5.)

      On April 26, 2006,6 Plaintiff filed her First EEOC Charge,

bringing claims of sex discrimination and age discrimination,

and identifying the following alleged discriminatory conduct:

(1) being denied the opportunity to work on special details and

perform enforcement duties; (2) being denied training

opportunities; (3) being denied proper supervisory assistance;


6
      Plaintiff insists that she filed her First EEOC Charge on April 18,
2006, before she was notified of her transfer out of the Narcotics Division.
(Blackburn Interrogs. 4; Sept. 19, 2007 Amendment to EEOC Charge No. 490-
2007-00633 (“Am. to Second EEOC Charge”) (D.E. 25-1) 2; Blackburn Aff. 3.)
However, the date on her First EEOC Charge states that Plaintiff brought her
first charge of discrimination on April 26, 2006. (First EEOC Charge.) Thus,
the Court finds that her transfer to the Detectives Division, effective April
22, 2006, occurred before Plaintiff filed a charge of discrimination with the
EEOC.



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and (4) being involuntarily transferred to the Detectives

Division. (First EEOC Charge.)

        B. Allegations Arising from Second EEOC Charge and
        Amendment to Second EEOC Charge

        Plaintiff’s allegations of sex and age discrimination,

retaliation, and hostile work environment in her Second EEOC

Charge and the Amendment to her Second Charge arise from her

assignment to the Detectives Division from April 2006 to August

2006 and her assignments within the Courts Division from August

2006 to September 2007.        (Dec. 5, 2006 EEOC Charge, No. 490-

2007-00633 (“Second EEOC Charge”) (D.E. 25-1); Am. to Second

EEOC Charge.)

        While in the Detectives Division, Plaintiff reports that

she was shunned by co-workers and the command staff, and

experienced “daily feelings of being monitored.” (March Dep.

177.)    She was told her whereabouts had to be accounted for at

all times, and she was not permitted to leave the office

unaccompanied by a partner. (Id. at 186-87.) On July 11, 2006,

Plaintiff met with Inspector McEachran and Captain Cobb,

reporting that she felt harassed because of her EEOC charge and

“job related issues.” (Blackburn Interrogs. 6.) In response,

Inspector McEachran purportedly stated that it was all in

Plaintiff’s head. (Id.)

        On August 10, 2006, Plaintiff submitted a letter requesting



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reassignment from the Detectives Division due to “personal

health reasons.” (Pl.’s Resp. to Def.’s UMF ¶ 65.)             On August

22, 2006, Chief Oldham granted Plaintiff’s transfer request and

reassigned her to the General Sessions Criminal Courts Division

(the “Criminal Courts Division”).        (Id. ¶ 66.)     Though she

requested a reassignment, Plaintiff was unhappy that it was to

the Criminal Courts Division and felt that she was being

punished by her placement there. (April Dep. 29.)              According to

Plaintiff, the Criminal Courts Division is known as a punishment

area and referred to as the “whipping post.” (Id. at 46.)

Plaintiff admits, however, that as with any position within the

SCSO, there are sergeants who like the Criminal Courts Division

and sergeants that do not. (Pl.’s Resp. to Def.’s UMF ¶ 67.)

     Plaintiff’s supervisor in the Criminal Courts Division was

Lieutenant Larry Hill (“Lt. Hill”), the General Sessions

Criminal Courts Commander.      On August 30, 2006, Plaintiff had a

discussion with Lt. Hill regarding the details of her transfer

to the Criminal Courts Division, in which she informed him of

her first EEOC charge. (Blackburn Interrogs. 7.)

     Shortly after her reassignment, Plaintiff reports that Lt.

Hill began to treat her unfairly.        On one occasion, Lt. Hill

ordered Plaintiff to put her gun belt back on after she took it

off to clean the area under her desk, advising that it was a

safety factor. (April Dep. 43-44.) On another occasion, Lt. Hill


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called a meeting with Plaintiff and two other sergeants in which

he raised his voice and unjustly chastised her.            (Blackburn

Interrogs. 8.) When Plaintiff began to cry, Lt. Hill accused her

of being unprofessional. (Id.) According to Plaintiff, Lt. Hill

treated her unfairly because Plaintiff had become a target based

on her EEOC complaint and Lt. Hill wanted to ingratiate himself

to Chief Young and get a promotion. (Id. at 44-45.)

     On October 16, 2006, Captain Terry Yarbrough (“Capt.

Yarbrough”) was assigned to the Courts Division as the Courts

Division Commander. (Blackburn Interrogs. 8; Def.’s Ex. No.

202.) On October 17, 2006, Plaintiff had a conversation with

Chief Young about work related issues and her EEOC charge.

(Blackburn Interrogs. 8.)

     On October 26, 2006, Plaintiff was suspended for one day

without pay for violation of “SOR 111 Disobedience of an Order”

after disobeying a direct order from Lt. Hill. (Def.’s Ex. No.

D180).   The disciplinary action arose out of a meeting on

October 24, 2006 in which Lt. Hill advised Plaintiff, Sergeant

R. Harrison, and Sergeant S. Jones that Capt. Yarbrough had

issued a disciplinary directive requiring supervisors to address

officers under their command that had been off sick without pay

without any disciplinary action. (Id. at D181.) Lt. Hill

instructed Plaintiff to complete a disciplinary action form for

Patrolwoman Robin Lee (“Ptlw. Lee”) for violation of A.W.O.L.-


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SOR 1105.   (Id.) In response, Plaintiff “respectfully expressed

questions concerning medical documentation and short term

disability procedures set forth in the SCSO Policy.” (Id. at

D193.)   In Plaintiff’s opinion, Ptlw. Lee had followed proper

procedures for her sick leave and had not violated the A.W.O.L.

policy. (Id.) When she did not get a satisfactory response from

Lt. Hill regarding her concerns, she refused to proceed with the

disciplinary action. (Id.) Lt. Hill then delegated the

disciplinary action directive to Sergeant Harrison, who

completed the write up. (Id. at D182.)

     Plaintiff contends that the write-up was false because she

did not refuse the command; rather, she explains that she asked

questions regarding an order, per policy SOR 106.12 G. (April

Dep. 56; SOR 106.12(G) (D.E. 78).)

     After receiving the disciplinary action write-up, Plaintiff

hand-delivered a memo to Lt. Hill, requesting an administrative

hearing regarding the disciplinary action. (Def’s Ex. No. D194,

D183.) Lt. Hill reported to Capt. Yarbrough that, upon handing

Lt. Hill the memo, Plaintiff stated that she was going to ask

for an internal investigation and file a complaint for hostile

work environment. (Id. at D183.) On October 27, 2006, Lt. Hill

sent Capt. Yarbrough a memo requesting that Plaintiff be

transferred from under his command. (Id. at D184.) Lt. Hill

explained that he was “taking a proactive approach in [sic]


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attempt to alleviate any negligence on behalf of the Sheriff’s

office, as well as for myself being in an administrative

position where any legal proceedings may arise; whether factual

or frivolous from Sgt. Blackburn’s actions.” (Id.)

     After an administrative line-level hearing on November 21,

2006, Capt. Yarbrough sustained the infraction as charged. (Id.

at D201.) Although the Disciplinary Action Form memorializing

her suspension for one day without pay is still in her personnel

file, Plaintiff has never been suspended without pay nor has her

pay ever been docked as a result of the disciplinary action.

(April Dep. 56-57, 64.)

     Immediately following the hearing, Plaintiff hand-delivered

a memo dated November 20, 2006, to Chief Young’s office,

requesting an official grievance investigation and complaining

of the “antagonistic work environment and harassing behavior”

directed towards her by Lt. Hill. (Def.’s Ex. No. D200, D202-

D203.) This was the first time that Plaintiff had complained to

management regarding Lt. Hill’s behavior. (Id. at D204.)

     After further investigation, Capt. Yarbrough concluded that

Plaintiff’s grievance accusations of an antagonistic work

environment and harassment were without support. (Def.’s Ex. No.

D202.)   After reviewing the file, Asst. Chief Young and Chief

Deputy Oldham concurred.       (Id. at D204, D206.)

     In November 2006, Plaintiff alleges that her Shelby County


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Employee Assistance Program (“EAP”) benefits were terminated.

Around January 2006, Plaintiff went to the EAP to seek

assistance and was given some forms to fill out, including a

release for medical information. (April Dep. 107.) Plaintiff

refused to sign the release form because she was seeking

treatment for work-related issues and she did not want

information released to the SCSO regarding her visits. (Id.)

Plaintiff received treatment from Jane Cox, PhD, until November

2006, when a review of her Plaintiff’s EAP file revealed that

Plaintiff declined to sign the initial authorization form for

treatment. (Def.’s Ex. No. D199.) By letter dated November 6,

2006, the EAP informed Dr. Cox that the treatment authorization

dated January 18, 2006 for Plaintiff was terminated and that no

further sessions were authorized. (Def.’s Ex. No. D197.) On

November 20, 2006, Plaintiff sent a letter to the EAP, asking

for an explanation as to why her benefits were terminated. (Id.

at D198.) Plaintiff received a response dated November 22, 2006,

explaining that an authorization for treatment could not be

processed without Plaintiff’s signature and, though she could

seek a new authorization for treatment, she would be required to

sign the authorization form for Dr. Cox to provide information

to the EAP if the sessions were going to be billed to

Plaintiff’s county insurance. (Id. at D199.) When Plaintiff

later learned that Dr. Cox was not employed by Shelby County,


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she contacted CIGNA and resumed her therapy under her own

insurance. (April Dep. 108.)

      In November 2006, Plaintiff went on FMLA sick leave.

(Blackburn Interrogs. 9.) Plaintiff alleges that Lt. Hill

instructed her to call in sick every day during the duration of

her sick leave. (Id.)       According to Plaintiff, this practice is

not enforced with other officers. (Id.)

      On December 5, 2006, Plaintiff filed her second EEOC

Charge, bringing a claim of retaliation, and identifying the

following alleged retaliatory conduct occurring between August

8, 2006 and October 26, 2006: (1) transfer to the Courts

Division; and (2) suspension for one day without pay. (Second

EEOC Charge.)

      On February 6, 2007, Plaintiff asked to be transferred out

of the Courts Division.          (Blackburn Interrogs. 9.) Chief Young

informed Plaintiff in the presence of Capt. Yarbrough that Chief

Oldham would not sign a transfer for Plaintiff, stating that “he

had me because no one else wanted me.” (Id.) On July 23, 2007,

Plaintiff received her first denial to work “Special Detail

FSS.”7 (Blackburn Interrogs. 9.) She received her second denial


7
      The only place that Plaintiff alleges she was denied “Special Detail
FSS” is in her interrogatory responses. (Blackburn Interrogs. 9.) Plaintiff
offers no evidence of what this assignment was, whether it included a
permanent reassignment or a temporary special detail, whether she applied for
the position for which she was qualified, and whether the assignment would
have involved an increase in rank, pay, or benefits. “The mere existence of
a scintilla of evidence in support of the [nonmovant's] position will be


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on October 4, 2007.      (Id.)

      In July 2007, Plaintiff received a low performance

evaluation from Lt. Hill “without evidence of any negative OBR.”8

(Blackburn Interrogs. 9.) The previous month, Plaintiff received

a positive OBR from Lt. Hill in which “he was singing [her]

praises as a supervisor.” (Id.; April Dep. 119.) According to

Plaintiff, prior to her performance evaluation in 2007, she had

always received “exceeds expectations” on her evaluations.

(April Dep. 104.)     Plaintiff admits that her performance

evaluations have not caused her to lose any pay increases.9

(April Dep. 104.) She also testified that, during the relevant

time period, she never sought a promotion with SCSO that she did

not obtain. (March Dep. 29.)

      Plaintiff testified that, in August 2007, Lt. Hill

instructed Plaintiff not to call him “sir.”            (April Dep. 170.)

According to Plaintiff, this was “just another way to degrade

[her].”   She testified that “[t]hey just looked for things. . .

. They look[ed] for stupid things all day long to needle me

with, to call me on the carpet about. Just silly little things


insufficient; there must be evidence on which the jury could reasonably find
for the [non-movant].” Anderson, 477 U.S. at 252.
8
      Neither party has explained to the Court the evaluation process or how
an “OBR” differs from a performance evaluation.
9
      In her response to Defendant’s UMF, Plaintiff states: “Performance
evaluations have caused her to lose chance [sic] at promotion. This would
then be a loss in opportunity for increased pay.” (Pl.’s Resp. to Def.’s UMF
¶ 83.) A party may not create a factual dispute by filing an affidavit or a
pleading which contradicts earlier deposition testimony. Reid v. Sears,
Roebuck & Co., 790 F.2d 453, 460 (6th Cir. 1986).


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that don’t mean nothing.” (Id. at 171.)

     Plaintiff reviewed her personnel file in August 2007 and

saw derogatory letters from the command staff related to the

October 26, 2006 disciplinary action and subsequent

investigation. (Blackburn Interrogs. 10.) These included the

letter from Lt. Hill asking that Plaintiff be transferred out of

Courts Division, and one or two letters from Capt. Yarbrough.

(April Dep. 174-175; Def.’s Ex. No. D184, D201-D203.)              Plaintiff

complains that she was never advised that these letters were

placed in her file, even though she is supposed to be advised of

anything that is placed in her file. (Id. at 175.)

     On September 19, 2007, Plaintiff filed an amendment to her

second EEOC Charge, bringing claims of sex discrimination, age

discrimination, retaliation, and hostile work environment and

identifying the following additional discriminatory and

retaliatory conduct: (1) abusive and hostile work environment,

including constant criticism and reprimands; (2) exclusion from

special divisions training; (3) termination of EAP benefits; (4)

lowered performance evaluation; (5) denial of transfer requests;

and (6) damage to personnel file. (Am. to Second EEOC Charge.)

This amended charge also identified conduct occurring while

Plaintiff was in the Narcotics Division that was not alleged on

the first or second EEOC complaints.          Specifically, Plaintiff

alleged that, while assigned to the Narcotics Division, she was


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denied “overtime pay,” told on several occasions that she was

“too old” for enforcement duties, compared to a “dog with a

problem,” “called upon to organize and shop for Division

parties,” and called upon to do “office cleaning and bathroom

cleaning in the absence of cleaning crew.” (Am. to Second EEOC

Charge.”) As discussed infra, Part IV.A., claims based on

conduct not alleged in Plaintiff’s first EEOC charge are time-

barred if they are not reasonably related to the discriminatory

conduct stated in the charge.10

       C. Allegations Arising from Third EEOC Charge

       Plaintiff’s allegations of sex and age discrimination,

retaliation, and sexual harassment in her Third EEOC Charge

arise from her continued assignment to the Courts Division from

February 27, 2008 to September 2, 2008.            (Sept. 2, 2008 EEOC

Charge, No. 490-2008-03183 (“Third EEOC Charge”) (D.E. 25-1).)

       On October 17, 2007, Plaintiff submitted a transfer request

to Lt. Hill for transfer out of the Criminal Courts Division.

(Def.’s Ex. No. D227.) Lt. Hill notified Plaintiff by memo dated

October 23, 2007 that, after discussion with Chief Young and


10
      Plaintiff also alleged that Chief Wing, the Commander over Narcotics at
the time, referred to Plaintiff as a “secretary” to Inspector Floyd Bonner.
(March Dep. 150; Blackburn Aff. 4.) Plaintiff did not hear Chief Wing make
this statement, but heard about it later from someone who was present.
(Pl.’s Resp. to Def.’s UMF ¶ 54.) The Court declines to consider this
evidence. First, it is hearsay evidence that may not be considered on a
motion for summary judgment. Wiley v. U.S., 20 F.3d 222, 226 (6th Cir. 1994).
Second, this statement occurred around January 2004, outside the relevant
period stated on the First EEOC Charge and before the alleged discrimination
began. (See First EEOC Charge; Def.’s Ex. No. 445.)


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Capt. Yarbrough, her transfer request was denied because

Plaintiff’s performance evaluation indicated areas for

improvement and there were problems with her attendance record.

(Id. at D233.)

     On or around February 27, 2008, Plaintiff met with Capt.

Yarbrough and Capt. Hill.      Both Plaintiff and Capt. Hill were

expressing some complaints when Capt. Yarbrough turned to

Plaintiff and stated: “Sergeant Blackburn, what is it that you

want? . . . [Y]ou want to be fixed up[?] I can fix you up.”

(March Dep. 50.) Plaintiff responded, “[I]f you’re referring to

a date, I have a personal life away from this place.” (Id. at

51.) Plaintiff testified that she was so surprised by Capt.

Yarbrough’s comments that she began to cry. (Id.) Capt.

Yarbrough then asked Plaintiff if she had lunch and, when

Plaintiff said no, he asked Plaintiff if she wanted him to take

her to lunch. (Id.) As the meeting was concluding and everyone

was leaving, Capt. Yarbrough stated: “[W]e all need to be, you

know, just wipe the slate clean. We all need to be friends here

and who knows, maybe someday we will all be doing the bump

together.” (Id.) Capt. Yarbrough then started “bumping his rear

end up against . . . Lt. Hill’s desk.” (Id.) Plaintiff retrieved

her purse and immediately left the office. (Id.) In her

deposition testimony, Plaintiff explained that she did not

interpret Capt. Yarbrough’s reference to “the bump” as referring


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to anything other than the dance. (March Dep. 52.) Plaintiff

explains, however, that the dance is sexual in nature,

inappropriate for work, and made Plaintiff uncomfortable. (Pl.’s

Resp. to Def.’s UMF ¶ 89.)

       On May 20, 2008, Plaintiff requested a meeting with a

member of the SCSO’s Sexual Harassment Prevention Team (“SHPT”)

in order to file a formal complaint regarding offensive behavior

by Capt. Yarbrough during the February 27, 2008 meeting. (Def.’s

Ex. No. D241.) The SHPT informed Plaintiff that the Bureau of

Professional Standards and Integrity (“BPSI”) would investigate

her complaint. (Pl.’s Resp. to Def.’s UMF ¶91.) At the

conclusion of the BPSI’s investigation, Detective Janice Masters

issued a report outlining her findings and recommending that no

action be taken against Capt. Yarbrough. (Id. ¶ 92; Def.’s Ex.

No. D247-D250.)

       In June 2008, Plaintiff asked to be considered for

reassignment to the FBI Civil Rights/Human Trafficking Task

Force.11 (Def.’s Ex. No. D457.) Plaintiff complains that she was

never considered for the position. (Pl.’s Resp. to Def.’s UMF ¶

96.) The SCSO never received FBI funding for the assignment and,

as a result, the SCSO never selected an officer for assignment


11
      In Plaintiff’s Third EEOC Charge, she alleges that she filed a transfer
request on March 28, 2008, which was denied. (Sept. 2, 2008 EEOC Charge.)
Plaintiff has presented no competent evidence in support of this allegation.
The Court construes Plaintiff’s allegation as referring to either or both
Plaintiff’s October 2007 and June 2008 transfer reqests which were denied.


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to the task force.    (Richard H. Sherman’s Verified Statement

(“Sherman’s Statement”) (D.E. 67-3) ¶ 20.)

     On September 1, 2008, Plaintiff was transferred to the

Civil Courts Division, an assignment that Plaintiff was

initially pleased with. (Pl.’s Resp. to Def.’s UMF ¶ 97.) On

June 18, 2009, however, Capt. Yarbrough was assigned as Courts

Commander and, according to Plaintiff, he “picked up where he

left off” harassing her. (Blackburn Interrogs. 11.)

     On September 19, 2008, Plaintiff filed her third EEOC

Charge, bringing claims of sex and age discrimination,

retaliation, and sexual harassment and identifying the following

discriminatory, retaliatory, and/or harassing conduct: (1) Capt.

Yarbrough’s conduct during the February 27, 2008 meeting; and

(2) denial of her transfer request.

IV. ANALYSIS

     A. Exhaustion of Administrative Remedies

     As a preliminary matter, the Court must determine whether

Plaintiff failed to exhaust her administrative remedies on

certain of her allegations of discrimination while in the

Narcotics Division.

     Defendant argues that Plaintiff failed to exhaust her

administrative remedies on her discrimination in denial of

overtime claim because the first time she alleged it was in the

Amendment to the Second EEOC Charge, on September 19, 2007, more


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than sixteen months after she was allegedly denied overtime in

the Narcotics Division. (Def.’s Mem. 17-18.) Plaintiff counters

that her denial of overtime claim is reasonably related to the

claims in her first charge because the performance of

enforcement duties is how officers get overtime.12                (Pl.’s Resp.

7.) Thus, Plaintiff argues that her allegation that she was

denied enforcement duties is, in effect, an allegation that she

was denied overtime. (Id.)

       The exhaustion of administrative remedies is a prerequisite

to filing a lawsuit alleging discrimination under Title VII of

the Civil Rights Act of 1964. See Brown v. Gen. Servs. Admin.,

425 U.S. 820, 823-33 (1979); Williams v. Northwest Airlines, 53

F. App’x 350, 351 (6th Cir. 2002). To exhaust administrative

remedies, an aggrieved person in a deferral state such as

Tennessee must file a formal charge of discrimination with the

EEOC or the Tennessee Human Rights Commission within three

hundred (300) days of the allegedly discriminatory action. 42

U.S.C. § 2000e-5(e)(1); 29 U.S.C. § 626(d)(2). Once the EEOC

dismisses the charge and issues a right-to-sue letter, the

plaintiff has ninety (90) days to file a civil action.                42


12
      Plaintiff contends that “[i]t is undisputed that performance of
enforcement duties is how a Sergeant gets overtime in the Narcotics
Division.” (Pl.’s Resp. 7.) Plaintiff offers no competent evidence supporting
this conclusory allegation. Gregg v. Allen-Bradley Co., 801 F.2d 859, 861
(6th Cir. 1986) (noting that the “nonmoving party is not entitled to a trial
merely on the basis of allegations; significant probative evidence must be
presented to support the complaint”).


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U.S.C. § 2000e-5(f)(1); 29 U.S.C. § 626(e).          This procedure

notifies potential defendants of the nature of the plaintiff's

claims and provides them with the opportunity to settle claims

before the EEOC rather than litigate them. Davis v. Sodexho,

Cumberland Coll. Cafeteria, 157 F.3d 460, 463 (6th Cir. 1998).

Conciliation serves an important purpose and is not to be easily

circumvented. Vinson v. Ford Motor Co., 806 F.2d 686, 688 (6th

Cir. 1987).

     The Supreme Court held in National R.R. Passenger Corp. v.

Morgan, 536 U.S. 101, 110 (2002), that “[d]iscrete

discriminatory acts are not actionable if time barred, even when

they are related to acts alleged in timely filed charges.” Id.

at 113. Therefore, “[a] party must file a charge within either

180 or 300 days of the date that a discrete retaliatory or

discriminatory act ‘occurred’ or lose the ability to recover for

it.” Id. at 102.    If the employee fails to file an EEOC

complaint related to that action within the allowed statutory

period, a defendant employer is entitled to treat a past act as

lawful. See United Air Lines v. Evans, 431 U.S. 553, 558 (1977)

(“A discriminatory act which is not made the basis of a timely

charge is the legal equivalent of a discriminatory act that

occurred before the statute was passed . . . . [S]eparately

considered, it is merely an unfortunate event in history which

has no present legal consequences.”)


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     The EEOC regulations, however, expressly provide that “[a]

charge may be amended to cure technical defects or omissions,

including . . . to clarify and amplify allegations made therein.

Such amendments and amendments alleging additional acts which

constitute unlawful employment practices related to or growing

out of the subject matter of the original charge will relate

back to the date the charge was first received.” 29 C.F.R. §

1601.12(b).

     Plaintiff’s first EEOC charge, filed on April 26, 2006,

brings claims of sex discrimination and age discrimination, and

alleges, inter alia, that Plaintiff was not “allowed to work on

Special Details (Round-ups; Federal warrants; serving warrants)”

or “to go out and perform enforcement duties” between July 2005

and March 22, 2006.    (First EEOC Charge.) It does not mention

discrimination in the denial of overtime.

     Plaintiff’s second EEOC charge, filed on December 5, 2006,

brings a claim of retaliation and alleges that, between August

28, 2006 and October 26, 2006, Plaintiff “was transferred to an

undesired office and suspended for a day without pay.”             (Second

EEOC Charge.)   On September 19, 2007, Plaintiff filed an Amended

Charge of Discrimination, expanding her Second EEOC Charge to

allege that, among other things, she was denied “overtime pay”

while she was assigned to the Narcotics Division. (Am. to Second

EEOC Charge.)


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     As an initial matter, the discrimination in denial of

overtime claim in the amendment to Plaintiff’s second EEOC

charge, occurring while she was assigned to the Narcotics

Division, does not grow out of the subject matter of the second

charge.   29 C.F.R. § 1601.12(b). The conduct alleged in the

second charge occurred between August 28, 2006 and October 26,

2006, four months after Plaintiff was transferred out of the

Narcotics Division. (Def.’s Ex. No. D 421.)          Thus, Plaintiff’s

denial of overtime claim is time-barred unless the Court finds

that it is reasonably related to the discriminatory conduct

alleged in her first EEOC charge.

     The EEOC charge “should be liberally construed to encompass

all charges ‘reasonably expected to grow out of the charge of

discrimination.’” Haithcock v. Frank, 958 F.2d 671, 675 (6th

Cir.1992). Thus, “where facts related with respect to the

charged claim would prompt the EEOC to investigate a different,

uncharged claim, the plaintiff is not precluded from bringing

suit on that claim.” Davis, 157 F.3d at 463. Courts are apt to

find that the complaint relates to the EEOC charge where the

plaintiff had merely failed to recognize a procedural

technicality, distinguish between seemingly identical legal

theories, or articulate the exact wording required in a judicial

pleading. Haithcock, 958 F.2d at 675.

     However, courts draw a distinction between a failure to


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allege a specific legal claim and a failure to allege specific

factual predicates.    See McFagdon v. Fresh Market, Inc., No. 05-

2151-D/V, 2005 WL 2768996, at *5 (W.D. Tenn. Oct. 21, 2005)

(“[G]enerally . . . [c]ourts can expect the EEOC to identify and

investigate legal issues that flow from the plaintiff's factual

allegations. However, this should not be misinterpreted to

automatically mean that claims sharing the same subject matter

(i.e., age discrimination), but different factual predicates,

are ‘reasonably related.’”) (citing E.E.O.C. v. McCall, 633 F.2d

1232, 1236 (6th Cir. 1980)). A complainant is expected to

specify each event in her EEOC charge which she feels was a

result of unlawful discrimination. Vinson, 806 F.2d at 688 (“It

does not constitute an unjustifiable burden on claimants to

require them to specify each . . . event” or “identif[y] that

conduct which [he or she] felt was the result of . . .

discrimination.”). For this reason, courts have found that a

plaintiff’s failure to specifically allege discriminatory

conduct in the EEOC charge barred plaintiff from bringing that

claim. See, e.g., Moore v. Boeing Co., No. 4:02CV80 CFP, 2004 WL

3202777, at *5 (E.D. Mo. March 31, 2004) (dismissing the

plaintiff’s argument that alleging discrimination in

compensation in the EEOC charge was reasonably related to her

later claim of discrimination in denial of overtime; nothing in

the plaintiff’s EEOC charge would put the defendant on notice


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that she was complaining that she received fewer overtime

assignments than her male co-workers).13

       Plaintiff’s untimely allegation that she was denied

overtime is not reasonably related to her allegation that she

was denied enforcement duties, such that SCSO would have been

put on notice of this claim.14         Davis, 157 F.3d at 463 (noting

that the exhaustion requirement notifies potential defendants of

the nature of the plaintiff's claims and provides them with the

opportunity to settle claims before the EEOC rather than

litigate them). Though Plaintiff states that the performance of

enforcement duties is how officers get overtime in the Narcotics

Division, she offers no competent evidence to support this

13
      See also Holtz v. Rockefeller & Co., Inc., 258 F.3d 62, 84 (2d Cir.
2001) (holding that plaintiff’s overtime claim was not reasonably related to
plaintiff’s allegation in her administrative complaint of sexual harassment;
the overtime claim bore “no factual or legal relation to the [sexual
harassment] allegations in the EEOC charge and would not naturally be
addressed in the course of an EEOC investigation into such [sexual
harassment] allegations.”); Coon v. Georgia Pacific Corp., 829 F.2d 1563,
1569 (11th Cir. 1987) (barring plaintiff from bringing claim related to
hiring, job assignments, layoff, recall, and discharge where the plaintiff's
EEOC charge of discrimination merely alleged wrongful denial of promotion);
Johnson v. Milwaukee School of Engineering, 258 F. Supp. 2d 896, 905 (E.D.
Wis. 2003) (holding that Plaintiff’s Title VII claims that he was denied
overtime could not be maintained as such claims were not mentioned in his
EEOC charge, it was not like or reasonably related to the claims in his
charge, and it was outside the scope of his charge); Mack v. W.R. Grace, 578
F. Supp. 626, 632 (N.D. Ga. 1983) (discrimination with regard to salary,
promotions and training was not so obviously related to discriminatory
discharge claims raised before Equal Employment Opportunity Commission that
they could be raised in subsequent Title VII suit).
14
      29 C.F.R. § 1601.12(b) provides that “a charge” can be amended “to
clarify or amplify allegations made therein” and, provided the amendment
relates to “the subject matter of the original charge,” it will “relate back
to the date the charge was first received.” (emphasis added) The plain text
of the regulation, through its use of the definite article, indicates that an
amendment corrects the deficiencies in the charge that it amends, not any
previous charges. Consequently, the denial of overtime claim stated for the
first time in the amendment to Plaintiff’s second charge may not be used to
clarify or amplify allegations made in Plaintiff’s first charge.


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assertion. In fact, the overtime reports that Plaintiff filed

show that she received twenty-five hours of overtime between

June 26, 2005 and March 5, 2006 for such tasks as “Mandatory

Meeting,” “Payroll/State Cases,” “Fed Crt,” and “Ext Duty.”

(Division Overtime Detail Reports (D.E. 82) 1, 75.)                This

evidence contradicts Plaintiffs assertion and demonstrates that

overtime in the Narcotics Division is earned in numerous ways,

not just on special details and enforcement duties. Plaintiff’s

conclusory allegation that the two claims are essentially

identical is insufficient to permit Plaintiff to avoid the

exhaustion requirements of Title VII.15

       The Court finds that Plaintiff’s discrimination in the

denial of overtime claim cannot be maintained; it is time-barred

because it was raised more than 300 days from its occurrence.

Accordingly, Defendant’s Motion for Summary Judgment is GRANTED

as it relates to Plaintiff’s discriminatory denial of overtime

claim.

       B. Title VII Sex Discrimination Claim

       Title VII of the Civil Rights Act of 1964 makes it “an

15
      For these same reasons, Plaintiff’s allegations that she was
discriminated against when she was “called upon” to organize office events
and clean the office are similarly time-barred. These allegations are not
reasonably related to the discriminatory conduct alleged in the First EEOC
Charge. Even if these claims were not time-barred, however, Plaintiff does
not properly raise a jury question with regard to the allegations. These
were activities she admits she voluntarily undertook. They do not constitute
a “materially adverse change in the terms and conditions of employment.”
White v. Burlington N. & Santa Fe Ry. Co., 364 F.3d 789, 795-96 (6th
Cir.2004). Moreover, Plaintiff has also failed to establish that male
officers were treated more favorably than she in this regard.


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unlawful employment practice for an employer . . . to

discriminate against any individual with respect to his

compensation, terms, conditions, or privileges of employment,

because of such individual’s race, color, religion, sex, or

national origin.”       42 U.S.C. § 2000e-2(a)(1).

       In order to establish a prima facie claim of sex

discrimination, Plaintiff must offer evidence showing that (1)

she was a member of a protected class; (2) she was subjected to

an adverse employment action; (3) she was qualified for the

position; and (4) she was replaced by a person outside the class

or that a “comparable non-protected person was treated better.”

Mitchell v. Toledo Hosp., 964 F.2d 577, 582-83 (6th Cir. 1992)

(quotation marks omitted); see also McDonnell Douglas Corp. v.

Green, 411 U.S. 792, 803 (1973).

       Defendant argues that Plaintiff has failed to establish the

second and fourth prong of a prima facie case——she failed to

show that she suffered an adverse employment action and failed

to identify a male sergeant who was treated more favorably than

she.16 (Def.’s Mem. 13, 16.)        Plaintiff counters that the

following events/conduct constitute materially adverse acts of

discrimination based on her sex: (1) being denied enforcement

duties while in the Narcotics Division; (2) being denied

training opportunities while in the Narcotics Division; (3)
16
      Defendant does not dispute that Plaintiff is a member of a protected
group and was qualified for her position(s) with SCSO.


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being denied adequate supervisory assistance while in the

Narcotics Division; and (4) being involuntarily transferred to

the Detectives Division.17

       In order to satisfy the fourth prong of a prima facie

claim, a plaintiff must put forth sufficient facts to show that

she was replaced by a person outside her protected group or that

similarly situated employees outside the protected class “were

treated differently . . ., not simply that plaintiff’s

circumstances were unique.” Jackson v. City of Columbus, 194

F.3d 737 (6th Cir. 1999); see also Policastro v. Northwest

Airlines, Inc., 297 F.3d 535, 539 (6th Cir. 2002).

       In order to satisfy the second prong, Plaintiff must put

for the sufficient facts to show that she was subjected to an

adverse employment action. In the Sixth Circuit, “employment

actions that are de minimis are not actionable under Title VII.”

White v. Burlington N. & Santa Fe Ry. Co., 364 F.3d 789, 795-96

(6th Cir. 2004)(quoting Bowman v. Shawnee State Univ., 220 F.3d

456, 462 (6th Cir. 2000)).         “To prevent lawsuits based upon

trivial workplace dissatisfactions, the Sixth Circuit requires a

plaintiff prove the existence of an ‘adverse employment action’

to support a Title VII claim.” Id. (quoting Hollins v. Atl. Co.,

188 F.3d 652, 662 (6th Cir. 1999)).          An “adverse employment

17
      Plaintiff also alleges that she was referred to as the “sergeant over
the secretaries” and compared to a “dog with a problem” while in Narcotics
Division. “[P]etty slights” and “trivial harms” are not actionable under
Title VII. Burlington N., 548 U.S. at 68.


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action” is defined as a “materially adverse change in the terms

and conditions of employment.” Id.       Such a change usually

includes “a decrease in wage or salary, a less distinguished

title, a material loss of benefits, significantly diminished

material responsibilities, or other indices that might be unique

to a particular situation.”      Hollins, 188 F.3d at 662.         It “must

be more disruptive than a mere inconvenience or an alteration of

job responsibilities.” Id.      (citation omitted). “Moreover, the

employee's subjective view of the significance and adversity of

the employer's action is not controlling; the employment action

must be materially adverse as viewed by a reasonable person in

the circumstances.” Sands v. Jackson State Cmty. Coll., No. 1-

03-1333-T-An., 2006 WL 1174469, at *5 (W.D. Tenn. April 29,

2006) (quoting Davis v. Town of Lake Park Florida, 245 F.3d

1232, 1239 (11th Cir. 2001)).

     With regard to Plaintiff’s charge of discrimination in the

denial of training, Plaintiff has put forth no evidence from

which a jury could conclude that a male sergeant in Narcotics

received training opportunities that she was purportedly denied.

Virostek v. Liberty Township Police Dept., 14 F. App’x 493 (6th

Cir. 2001) (upholding summary judgment in favor of defendant on

the plaintiff’s claim of unequal training opportunities because

she failed to produce evidence showing that similarly situated

males received approval to attend training seminars that were


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denied to her and she failed to specify the training for which

she requested and was denied attendance).          Similarly, with

regard to Plaintiff’s allegation of discrimination in the denial

of proper supervisory process, Plaintiff has put forth no

evidence from which a jury could conclude that similarly

situated, non-protected employees were treated more favorably.

Plaintiff identifies no male sergeants in Narcotics who were

provided assistance with problem employees when she was denied.

“An employee has the burden of producing specific, substantial

evidence of disparate treatment, such that a reasonable jury

relying on that evidence could find in favor of the employee.”

Steckl v. Motorola, Inc., 703 F.2d 392, 393 (9th Cir. 1983).

Without evidence specifying similarly situated male sergeants

that received more favorable treatment, Plaintiff’s conclusory

statements provide no credible and specific evidence of

disparate treatment on these claims.

     With regard to Plaintiff’s claims that she was denied

enforcement duties, Plaintiff has arguably satisfied the fourth

prong of a prima facie claim by putting forth some evidence from

which a jury could conclude that, on the specified dates, male

sergeants participated in enforcement duties for which she was

denied. Nevertheless, this claim fails to create a genuine issue

of material fact because it does not amount to a materially

adverse employment action. There is no evidence that being


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denied enforcement duties had any tangible impact on Plaintiff’s

employment.    Plaintiff’s primary duties were largely

administrative and, as the CM Sergeant, she admits that she was

in a support position.     On each of the dates that Plaintiff

identifies that she was denied enforcement opportunities, she

worked a full eight hours performing her primary duties as the

CM Sergeant.   Being restricted from a task that, as the CM

Sergeant, Plaintiff was expected to be “available for,” but

which was not included in her regular duties, is not a “tangible

employment action [that] constitutes a significant change in

employment status . . . .” Burlington Indus. Inc. v. Ellerth,

524 U.S. 7452, 761 (1998); (Def.’s Ex. No. D454 (noting that the

Case Management Sergeant is expected to be “[a]vailable for

Narcotics Enforcement Duties”).) Even if Plaintiff was called on

to perform enforcement duties at some point during her tenure as

the CM Sergeant, a mere change in her responsibilities does not

amount to an adverse employment action. See Hollins, 188 F.3d at

662 (finding that an adverse employment action “must be more

disruptive than a mere inconvenience or an alteration of job

responsibilities”) (citation omitted).          The evidence is

insufficient to demonstrate that Plaintiff was subjected to an

adverse employment action when she was denied the opportunity to

perform enforcement duties.

     Regarding the reassignment to the Detectives Division,


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Plaintiff has failed to raise a genuine issue of material fact

regarding whether the reassignment was an adverse employment

action affecting the terms and conditions of her employment.18

Plaintiff maintains that the reassignment from the Narcotics

Division to the Detectives Division was materially adverse

because: (1) her supervisory responsibility over five clerical

employees in the Narcotics Division was eliminated; (2) it

eliminated her benefits including a private office, and SCSO-

provided take-home vehicle, fuel for that vehicle, pager, and

cell phone; (3) she was assigned an “old” and “unkept” [sic]

vehicle; (4) she was assigned an “oppressive caseload,” which

included some pending cases from transferred detective Sgt.

Collier; (5) her duty hours changed to 0800-1630 with a 10-day

workweek, purportedly longer hours than her position in

Narcotics Division; (6) she had to account for her whereabouts

at all times and she was not allowed to leave the office without

someone accompanying her; and (7) she was not trained on the use

of the crime scene kit issued to her or on the new computer

procedures necessary to conduct investigative cases.19                (Am.



18
      Because Plaintiff alleged that she was “swapped” with a male sergeant,
she has established the fourth prong of her prima facie claim.
19
      In her response to Defendant’s Motion for Summary Judgment, Plaintiff
claims, for the first time, that her “salary and employer-provided benefits
were affected” by the transfer. (Pl. Resp.9.) Plaintiff may not oppose a
proper summary judgment motion by merely relying on the pleadings. Celotex,
477 U.S. at 324. Moreover, conclusory assertions, supported only by
Plaintiff's own opinions, cannot withstand a motion for summary judgment. See
Travelodge Hotels, Inc. v. Govan, 155 F. App’x 235, 237 (6th Cir. 2005)


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Compl. 6; Pl.’s Resp. 4-5; Blackburn Interrogs. 5; First EEOC

Charge.) Plaintiff complains that she had “limited duties [and]

very little assistance . . . .” (Am. Compl. 6.)

      An adverse employment action requires a loss of pay or

benefits, a detrimental change in responsibilities, a negative

change in the terms or conditions of employment, or some other

actual or unfavorable change in job status. Kocsis v. Multi-Care

Mgmt., Inc., 97 F.3d 876, 883 (6th Cir. 1996).            “Reassignments

and position transfers can qualify as adverse employment

actions, particularly where they are accompanied by [adverse]

salary or work hour changes.” Spees v. James Marine, Inc., 617

F.3d 380, 391 (6th Cir. 2010) (citing Kocsis, 97 F.3d at 885-86)

(internal quotation marks omitted). “[E]ven if a reassignment is

not paired with a salary or work-hour change, it can nonetheless

be considered an adverse employment action where there is

evidence that the employee received a less distinguished title,

a material loss of benefits, significantly diminished material

responsibilities, or other indices that might be unique to a

particular situation.” Id. (citing Kocsis, 97 F.3d at 886)

(internal quotation marks omitted). “Whether a particular

reassignment is materially adverse depends upon the

circumstances of the particular case, and ‘should be judged from

the perspective of a reasonable person in the plaintiff's

(holding that briefs “filled with conclusory allegations . . . failed to
present sufficient evidence” to withstand summary judgment).


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position, considering all the circumstances.’” Burlington N. &

Santa Fe Ry. Co. v. White, 548 U.S. 53, 59 (quoting Oncale v.

Sundowner Offshore Services, Inc., 523 U.S. 75, 80 (1998)

(holding that Title VII does not create “a general civility code

for the American workplace”)). It has been held that

“[t]ransfers intended to respond to and resolve an employee's

problems with another employee do not constitute adverse

employment action.” Kasprzak v. DaimlerChrysler Corp., 431 F.

Supp. 2d 771, 777 (N.D. Ohio 2005) (citing Walker v. Nat’l

Revenue Corp., 43 F. App'x 800, 805 (6th Cir. 2002)).

     Lt. Hill’s response to Plaintiff’s complaints was to

transfer her to the Detectives Division, the unit Plaintiff was

in prior to her transfer to the Narcotics Division.             Plaintiff

presented no evidence that the reassignment from the Narcotics

Division to the Detectives Division involved a change of her

wages, benefits, or rank.      The loss of her private office and

SCSO-provided pager, cell phone, gas allowance, and take-home

vehicle merely correlated to the change in Plaintiff’s job

duties due to her reassignment.      Lloyd v. City of St. Charles,

No. 4:07CV01935 JCH, 2009 WL 485078, at *5 (E.D. Mo. Feb. 26,

2009) (holding that the plaintiff’s loss of his cell phone,

take-home car, and clothing allowance upon his reassignment from

Detective Bureau to Patrol Division did not constitute adverse

employment actions); O’Neal v. City of Chicago, 392 F.3d 909,


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912-13 (7th Cir. 2004) (finding that, where the plaintiff was

transferred and kept the same pay rank and benefits, but lost

her cell phone, pager, vehicle, parking space, and schedule with

open holidays and weekends, the changes fell short of an adverse

employment action).    In addition, the assignment of an older

vehicle does not constitute an adverse employment action. Markel

v. Bd. of Regents of Univ. of Wis. Sys., 276 F.3d 906, 911-12

(7th Cir. 2002) (The denial of “‘better’ equipment” was “not [a]

readily quantifiable loss[] Title VII was meant to redress.”).

     Furthermore, Plaintiff’s loss of her supervisory

responsibilities and her increased case load and job

responsibilities are not actionable as adverse employment

actions; there was no difference in base pay and benefits

between the Detectives Division and the Narcotics Division,

Plaintiff’s rank remained the same, and Plaintiff presented no

competent evidence that the position in the Detectives Division

was objectively less prestigious. Freeman v. Potter, 200 F.

App’x 439, 445 (6th Cir. 2006); see also Benefield v. Fulton

Co., Ga., 130 F. App’x 308, 313 (11th Cir. 2005) (holding that

the plaintiff’s lateral transfer to a fire station and the

removal of her duties and staff as an EMS Coordinator amounted

to changes in work assignments, not conduct that altered the

terms, conditions, or privileges of employment) (citing Gupta v.

Florida Bd. of Regents, 212 F.3d 571, 578-89 (11th Cir. 2000)


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(holding that a university's refusal to give a professor desired

work assignments, at desired hours and locations, did not

constitute an adverse employment action)).

       Moreover, though a change in work hours can constitute an

adverse employment action for purposes of establishing a prima

facie case, the unique circumstances presented here lead the

Court to conclude that the shift change was not materially

adverse. Plaintiff’s duty hours changed when she was reassigned

to 0800-1630 with a 10-day workweek. Plaintiff alleges that her

reassignment also included an increase in her work hours. (April

26, 2006 EEOC Charge; Pl.’s Resp. 4.) The weekly time records

and weekly roll call report for the Narcotics Division show that

Plaintiff’s regular duty hours were from 0700, 0730, or 0800 to

1600 with a 5-day workweek.20        (Def.’s Ex. No. D470-D473.)           Thus,

in both the Narcotics Division and the Detectives Division,

Plaintiff’s duty hours totaled eight (8) hours, but in the

Detectives Division, there was a longer time between her days

off.     The Sixth Circuit has held that an “inconvenience

resulting from a less favorable schedule can render an

employment action ‘adverse’ even if the employee’s

responsibilities and wages are left unchanged.” Spees, 617 F.3d


20
      Though the time records reflect that Plaintiff’s in-time varied between
7:00 a.m. and 8:00 a.m., her out-time was 1600 or 4:00 p.m. She recorded
eight (8) total hours for each day worked, regardless of her time in,
suggesting that she took longer or shorter lunch breaks depending on the time
she arrived.


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at 392. However, Plaintiff offers no evidence that the new

schedule was less favorable or resulted in any inconvenience.

Moreover, as Defendant correctly points out, it is inconsistent

for Plaintiff to complain that she was discriminatorily denied

overtime in the Narcotics Division and then complain that she

was discriminatorily forced to work more hours in the Detectives

Division.

     Importantly, there is no evidence that the reassignment was

made for any reason other than to respond to Plaintiff’s

problems in the Narcotics Division. “Transfers intended to

respond to and resolve an employee's problems with another

employee do not constitute adverse employment action.” Kasprzak,

431 F. Supp. 2d at 777 (citing Walker, 43 F. App'x at 805)); see

also Moling v. O’Reilly Automotive, Inc., No. 09-1100, 2011 WL

112586 (W.D. Tenn. Jan. 13, 2011) (finding that employer’s

proffered reason for the plaintiff’s transfer to the only other

store in order to separate her from her supervisors about which

she had complained was not pretext for retaliation); Cromer-

Kendall v. District of Columbia, 326 F. Supp. 2d 50 (D.D.C.

2004) (holding that the plaintiff was not subjected to an

adverse employment action when employer attempted to improve the

plaintiff’s work environment by transferring her to a location

away from a sergeant about whom the plaintiff had complained).

The same reasoning applies to a transfer intended to respond to


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and resolve an employee’s problems with her supervisors and her

working conditions.    Plaintiff informed the command staff in the

Narcotics Division that she was unhappy, that she could not

continue to work under the same conditions, and that there were

two options, i.e., she would ask for a transfer or they could

transfer her out of the division. The command staff acted on

Plaintiff’s complaints and suggestion, and transferred her to

the Detectives Division, the unit she was in prior to arriving

in Narcotics and, importantly, the unit she testifies that she

was happy in prior to her transfer.

     The Court finds that Plaintiff has failed to offer evidence

which would allow a reasonable jury to conclude that she was

demoted by her reassignment to the Detectives Division. Though

Plaintiff felt that the Detectives Division position was “less

appealing,” this is not actionable under Title VII.             An

“employee’s subjective impressions as to the desirability of one

position over another are not relevant,” Policastro, 297 F.3d at

539, and a “‘bruised ego’ is simply not enough to constitute an

adverse employment action.” Mitchell, 389 F.3d at 182.

Plaintiff’s reassignment to Detectives Division was not an

adverse employment action because it involved no change in pay,

rank, or benefits.    Moreover, it was intended to respond to and

resolve Plaintiff’s problems with her supervisors and working

conditions in the Narcotics Division.         The Court finds that


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Plaintiff failed to present evidence of adverse treatment

sufficient to survive summary judgment on this basis. Therefore,

Plaintiff having failed on this essential element of her claim,

Defendant’s motion for summary judgment on this claim is

GRANTED.

        C. Title VII Retaliation

        Title VII makes it unlawful for an employer to

“discriminate against any of his employees . . . because he has

opposed any practice made an unlawful employment practice by

[Title VII], or because he has made a charge, testified,

assisted, or participated in any manner in an investigation,

proceeding, or hearing under [Title VII].”          42 U.S.C. § 2000e-

3(a).    In the absence of direct evidence of retaliation, courts

analyze Title VII retaliation claims at the summary judgment

stage using the McDonnell Douglas burden-shifting framework.

McDonnell Douglas, 411 U.S. at 802; see also           Imwalle v.

Reliance Med. Prods., Inc., 515 F.3d 531, 544 (6th Cir. 2008).

After the plaintiff demonstrates a prima facie case, the burden

shifts to the defendant to show a legitimate, non-discriminatory

reason for the adverse employment action. McDonnell Douglas, 411

U.S. at 802. If the defendant succeeds, the burden shifts back

to the plaintiff to demonstrate that the reason offered by the

defendant was not its true motivation, but rather, a pretext for

discrimination. Id.; see also Singfield v. Akron Metro. Hous.


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Auth., 389 F.3d 555, 565 (6th Cir. 2004). As with Plaintiff’s

sex discrimination claim, because she has not established a

prima facie case, the remaining stages of the analysis as to the

Title VII claim are unnecessary.

       To establish a prima facie case of retaliation, Plaintiff

must show the following: (1) she engaged in a protected

activity21; (2) the defendant knew she engaged in the protected

activity; (3) the defendant subsequently took an adverse action

against her; and (4) there was a causal connection between the

protected activity and the adverse action. Singfield, 389 F.3d

at 565.     Alternatively, Plaintiff can establish a prima facie

case by proving that she was “subjected to severe or pervasive

retaliatory harassment by a supervisor” and that there was a

causal connection between the protected activity and the

harassment. See Morris v. Oldham County Fiscal Court, 201 F.3d

784, 792 (6th Cir. 2000).

       Plaintiff maintains that the SCSO retaliated against her

for her EEOC charges.        The parties’ dispute centers on the

presence of an adverse employment action and causation.

Plaintiff identifies the following retaliatory actions taken by

the SCSO as adverse: (1) shunned by co-workers and the

administration staff while in the Detectives Division; (2)

reassigned to the Criminal Courts Division; (3) an unjust
21
      Defendant does not dispute that Plaintiff engaged in protected activity
when she filed complaints with the EEOC.


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disciplinary action; (4) termination of her EAP benefits; (5)

denial of her transfer requests; (6) a low performance

evaluation; (7) unjust damage to her personnel file; (8)

exclusion from training; and (9) unfair and unjust treatment by

Lt. Hill, including constant criticism and reprimands which

created an abusive and hostile work environment.22

             1. Adverse Employment Action

       Not every employment action disliked by an employee is

sufficient to satisfy the adverse action element of the

retaliation claim. The standard for whether an act of

retaliation rises to the level of material adversity is an

objective one, requiring a showing that “a reasonable employee

would have found the challenged action materially adverse, which

. . . means it well might have dissuaded a reasonable worker

from making or supporting a charge of discrimination.”

Burlington N., 548 U.S. at 68 (citation and internal quotation

marks omitted). In the Sixth Circuit, “de minimis employment

actions are not materially adverse and, thus, not actionable.”

Bowman, 220 F.3d at 462. The Supreme Court has limited “adverse

22
      The Court will not consider whether Plaintiff’s transfer to the
Narcotics Division on April 22, 2006 was an adverse retaliatory action
because the transfer occurred prior to the date of Plaintiff’s First EEOC
charge. Moreover, the First EEOC charge references the transfer and,
importantly, does not allege a retaliation claim. Duggins v. Steak ‘N Shake,
Inc., 195 F.3d 828, 832 (6th Cir. 1999) (“If an EEOC charge does not properly
allege a retaliation claim, the court only has jurisdiction over retaliation
arising as a result of filing the EEOC charge itself.”) As a result, it is
factually impossible for Plaintiff to establish the necessary causal
connection between the protected activity and the alleged retaliatory
reassignment.


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employment actions” to something more than “petty slights, minor

annoyances, and simple lack of good manners.” Burlington N., 548

U.S. at 68.

     The Court finds that Plaintiff has failed to demonstrate

that she was subjected to an adverse employment action in

retaliation for her protected conduct.         Plaintiff’s allegations

that she was shunned by co-workers after her reassignment to the

Detectives Division, even if true, is not sufficient to show a

retaliatory adverse employment action. Burlington N., 548 U.S.

at 68 (explaining that “petty slights,” “minor annoyances,” and

“snubbing” by supervisors and co-workers is not actionable under

Title VII).

     The reassignment to the Courts Division is also

insufficient to establish an adverse action.           Plaintiff

requested a reassignment out of the Detectives Division, which

was granted.   Though Plaintiff claims that the Courts Division

was a “punishment area,” she does not allege that she suffered a

change in pay, benefits, seniority, rank, or job status as a

result of her assignment to the Courts Division.               The Sixth

Circuit, in discussing what amounts to materially adverse

reliatory conduct, noted that a reassignment, a negative public

perception concerning a transfer or a particular job, a transfer

to a position with different responsibilities, semantic changes

in title, and the bruising of an ego did not, without more, rise


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to the level of “materially adverse changes” in the terms of

employment. Kocsis, 97 F.3d at 885-87. This is true even if the

employment action has the effect of making the plaintiff's job

more difficult. See id. at 885.      Moreover, “[a]n employee’s

subjective impressions as to the desirability of one position

over another are not relevant.” Id.       Though Plaintiff was

unhappy with the assignment, she requested the transfer and

admits that there were some officers who preferred assignment to

the Courts Division.    A reasonable employee would not have found

this reassignment to be materially adverse nor would have been

dissuaded from bringing complaints under Title VII on the basis

of the reassignment.

     Likewise, the disciplinary action is insufficient to

establish an adverse employment action.         Although the record

indicates that the disciplinary action resulted in the

recommendation of a one-day suspension without pay, this one-day

suspension without pay was never served. Virostek,             14 F. App’x

at 503-504 (upholding summary judgment in favor of defendant on

plaintiff’s retaliation claim; though investigation resulted in

recommendation of one-day suspension without pay, this one-day

suspension was never served and plaintiff testified she had not

“suffered any loss as a result”); Jackson, 194 F.3d at 752

(holding that a police chief's suspension with pay was not an

adverse employment action); see also Whittaker v. N. Ill. Univ.,


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424 F.3d 640, 647 (7th Cir. 2005) (“[A] suspension without pay

that is never served does not constitute an adverse employment

action.”).

     Similarly, the low performance evaluation and purported

“damage” to Plaintiff’s personnel file are insufficient to

establish an adverse employment action.         In general, “a negative

performance evaluation does not constitute an adverse employment

action, unless the evaluation has an adverse impact an

employee’s wages or salary.”      Tuttle v. Metro. Gov’t of

Nashville, 474 F.3d 307, 322 (6th Cir. 2007).           “Thus, to

characterize a negative performance evaluation as an adverse

employment action ‘the plaintiff must point to a tangible

employment action that she alleges she suffered, or is in

jeopardy of suffering, because of the downgraded evaluation.’”

White v. Baxter Healthcare Corp., 533 F.3d 381, 402 (6th Cir.

2008) (quoting Morris, 201 F.3d at 789)). Plaintiff offered no

evidence that the performance evaluation or the contents of her

personnel file resulted in a tangible adverse employment action.

     Plaintiff’s allegations that she was denied training in

retaliation for her protected conduct similarly fail to

establish an adverse employment action. The denial of training

that has no adverse impact on a plaintiff’s growth, advancement,

or compensation fails to rise to the level of an adverse

employment action. Johnson-Romaker v. Kroger Ltd. P’ship One,


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609 F. Supp. 2d 719, 725 (N.D. Ohio 2009); Freeman, 200 F. App’x

at 442 (material adverse change includes diminished

opportunities for advancement). Though Plaintiff testified that,

after she filed her EEOC charge, the amount of training that she

received declined (April Dep. 85), she has produced no competent

evidence in support of this claim.        Plaintiff admitted that,

after she was transferred to the Courts Division, she never

requested training and had her request denied and that, during

the relevant time period, she never sought a promotion that she

did not receive.    (Pl.’s Resp. to Def.’s UMF ¶ 62; March Dep.

29.)    Moreover, Defendant produced evidence demonstrating that

Plaintiff attended a 40-hour specialized law enforcement course

in February 2007 and courtroom security training in 2008.

(Def.’s Ex. No. D207; Def.’s UMF ¶ 61.)         Based on this record,

the Court finds that the denial of training opportunities was

not materially adverse because Plaintiff has produced no

evidence of training that she was denied or otherwise had a

tangible adverse impact on her growth, advancement, or

compensation.

        Regarding the termination of Plaintiff’s EAP benefits,

Plaintiff alleges that her benefits were terminated because she

refused to release information regarding her sessions to the

SCSO.    (Blackburn Interrogs. 8.)       Defendant produced evidence,

however, demonstrating that Plaintiff’s authorization for


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treatment by Dr. Cox was suspended because of Plaintiff’s

refusal to sign the authorization for treatment. (Def.’s Ex. No.

D197-D199.)   Even if the suspension of Plaintiff’s benefits

under these circumstances could be considered materially

adverse, Plaintiff has put forth no evidence demonstrating that

Defendant’s proffered justification is pretext. “A reason cannot

be proved to be a ‘pretext for discrimination’ unless it is

shown both that the reason was false and that discrimination was

the real reason.” Pierce v. Commonwealth Life Ins. Co., 40 F.3d

796, 804-05 (6th Cir. 1994) (citing Hicks, 509 U.S. at 515)).

“[M]ere personal belief, conjecture, and speculation are

insufficient.” Woythal v. Tex-Tenn. Corp., 112 F.3d 243, 247

(6th Cir. 1997).    Plaintiff offers no competent evidence

demonstrating that Defendant’s proffered justification for the

suspension of Plaintiff’s termination was pretext, aside from

her own personal belief.       Accordingly, since Plaintiff failed to

establish pretext, her retaliation claim based on this conduct

cannot survive summary judgment.

     In addition, Plaintiff has not demonstrated that the

denials of her requests for reassignment were adverse employment

actions.   “[A] purely lateral transfer or denial of the same,

which by definition results in no decrease in title, pay or

benefits, is not an adverse employment action for discrimination

purposes.” See Kocsis, 97 F.3d at 886.         Plaintiff alleges that


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her requests for reassignment out of the Criminal Courts

Division were denied in February 2007 (request to transfer out

of the Courts Division denied because no one else wanted her),

July 2007 (denial to work Special Detail FSS), October 4, 2007

(denial to work Special Detail FSS), October 2007 (transfer

request denied because of Plaintiff’s performance evaluation and

attendance record), and June 2008 (request for reassignment to

FBI Task Force denied because the SCSO never received funding).

Though Plaintiff contends that these denials were retaliatory

and in response to her EEOC Charges, she offers no evidence that

a reassignment would have resulted in an increase in rank, pay,

or benefits. Rather, she indicates that she was unhappy in the

Courts Division and, in her opinion, she would be “better

utilized within another division . . . that would also allow for

further career opportunities.” (Def.’s Ex. No. D227.)

Plaintiff’s “subjective impressions as to the desirability of

one position over another are not relevant” in determining

whether the employee suffered an adverse employment action.

Momah v. Dominguez, 239 F. App’x 114, 123 (6th Cir. 2007)

(quoting Policastro, 297 F.3d at 539).         Moreover, “a refusal to

grant a change requested by an employee is not an adverse

employment action unless the employee has a right to the

requested change by law or through the terms and conditions of

his employment.” Barrett v. Lucent Technologies, Inc., 36 F.


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App’x 835, 842 (6th Cir. 2002) (citing Randless v. Shalala, 118

F.3d 857, 862 (1st Cir. 1997) (plaintiff showed that transfer

was a common practice and so arguably a “privilege” of

employment)).   Plaintiff offered no evidence that she had a

right to a transfer out of the Court Division; rather, she

admits that, pursuant to the SCSO’s policy, transfers are within

the discretion of the SCSO.      (April Dep. 38.)       Plaintiff’s

allegation that she was denied reassignment out of the Courts

Division in retaliation for her protected conduct fails to

establish an adverse employment action because she has produced

no competent evidence that a refusal to reassign her resulted in

a tangible detriment to her employment with the SCSO or that she

had a right to reassignment.

          2. Severe or Pervasive Harassment by a Supervisor

     A plaintiff may also establish a prima facie case by

showing that her protected activity caused her to be severely or

pervasively harassed by a supervisor.         Morris, 201 F.3d at 792.

The Sixth Circuit has held that “the standard for severe or

pervasive harassment is the same in the retaliation context as

in the sexual and racial discrimination contexts.” Akers v.

Alvey, 338 F.3d 491, 498 (6th Cir. 2003) (internal citations

omitted). That standard requires the plaintiff to show that “the

workplace is permeated with discrimination, intimidation,

ridicule, and insult that is sufficiently severe or pervasive to


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alter the conditions of the victim's employment . . . .” Harris

v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993); see also Morris,

201 F.3d at 790.

      “In determining whether the conduct is severe or pervasive

enough to constitute a hostile work environment, [the] court

must consider the totality of the circumstances an employee

faces, including ‘the frequency of the . . . conduct; its

severity; whether it is physically threatening or humiliating,

or a mere offensive utterance; and whether it unreasonably

interferes with an employee's work performance.’” Broska v.

Henderson, 70 F. App’x 262, 269 (6th Cir. 2003) (quoting Harris,

510 U.S. at 23). It is not “whether each incident or harassment

standing alone is sufficient to sustain the cause of action in a

hostile environment case, but whether——taken together——the

reported incidents make out such a case.” Williams v. General

Motors Corp., 187 F.3d 553, 562 (6th Cir. 1999).

     “Thus, [the Court must] look both to whether a reasonable

person in plaintiff's position would find that the conduct at

issue constitutes severe or pervasive hostile retaliation and

whether the plaintiff subjectively perceived the employer's

actions to be severe or pervasive retaliation.” Ceckitti v. City

of Columbus, Dept. of Public Safety, Div. of Police, 14 F. App’x

512, 516-17 (6th Cir. 2001)(citing Harris, 510 U.S. at 21).

“Conduct that is not severe or pervasive enough to create an


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objectively hostile or abusive work environment——an environment

that a reasonable person would find hostile or abusive——is

beyond Title VII's purview.” Id. (quoting Harris, 510 U.S. at

21). “‘[S]imple teasing,’ offhand comments, and isolated

incidents (unless extremely serious) will not amount to

discriminatory changes in the ‘terms and conditions of

employment.’” See Faragher v. City of Boca Raton, 524 U.S. 775,

788 (1998) (internal citations omitted).

       Plaintiff alleges that she was harassed by Lt. Hill in

retaliation for her EEO complaints. Specifically, Plaintiff

alleges that, shortly after her transfer to the Courts Division

in August 2006, Lt. Hill began to treat her unfairly and that

his conduct created an abusive and hostile work environment: he

instructed her to put her gun belt back on after she removed it

to clean under her desk, he raised his voice and unjustly

chastised her during a meeting, he accused her of being

unprofessional, he made her call in sick every day for the

duration of her FMLA sick leave when this policy was not

enforced with others, he instructed Plaintiff not to call him

“sir,” and he told Plaintiff he would not meet with her in

private.23 According to Plaintiff, Lt. Hill and Capt. Yarbrough24


23
      In her interrogatory responses, Plaintiff also states: “From August 30,
2006 to October 2, 2006 other Sergeants are allowed to leave work early with
out [sic] being charged time (12:00-12:30 daily) Approved [sic] time off that
interpreted duties.” (Id.) Plaintiff does not explain this allegation nor
allege that her compensation was unjustly reduced when she left work early.


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“just looked for things . . . for stupid things all day long to

needle [her] with, to call [her] on the carpet about . . . silly

things that don’t mean nothing.” (April Dep. 171 (emphasis

added).)   Plaintiff’s complaints of harassment also include the

disciplinary action, the denial of her transfer requests, her

low performance evaluation, the adverse letters placed in her

personnel file, and exclusion from training.25

      Having reviewed the record, the Court finds that Plaintiff

fails to point to sufficient evidence in the record to create a

genuine issue of material fact regarding whether she was

harassed due to protected activity.         When considering the

conduct to which Plaintiff points, it is not sufficiently severe

or pervasive to support a claim for retaliatory harassment.

      Plaintiff describes isolated incidents over the course of

approximately eighteen months and points to generalized

complaints of constant needling and criticism.26            This conduct


The Court declines to interpret this allegation without any evidence from
Plaintiff demonstrating how it supports her claim of retaliatory harassment.
24
      Plaintiff also suggests that she suffered retaliatory harassment from
Capt. Yarbrough, though the allegations are unspecific and generally overlap
with the alleged retaliatory adverse actions she experienced in the Courts
Division. When she filed her grievance, she did not indicate that the
harassment was from Capt. Yarbrough. She did testify, however, that when
Capt. Yarbrough was transferred to the Civil Courts Division in 2009, he
resumed harassing her.
25
      The other purported retaliatory conduct alleged by Plaintiff, i.e.,
termination of her EAP benefits, was not an action taken by Lt. Hill or Capt.
Yarbrough.
26
      Almost one year after Plaintiff filed her third, and final, EEOC
charge, Plaintiff discovered an allegedly derogatory letter in her human
resources file from Sergeant Fred Banks. (Blackburn Interrogs. 10.)
Plaintiff states that the letter confirmed her suspicions that she was being
watched and monitored at all times. (March Dep. 197-99.) The letter, dated


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had no tangible, cumulative effect on her employment status.

Plaintiff has never had her pay docked, been denied a promotion,

been down-graded in rank, or otherwise been denied an

opportunity for advancement within the SCSO.            Regarding the

disciplinary action and resulting letters in her personnel file,

Plaintiff requested the investigation, a full investigation

commenced, and Plaintiff’s actions, whether justified or not,

have never resulted in a loss of pay or rank.            Likewise, though

she complains that her training decreased, and appears to object

that she was never approached regarding training, Plaintiff

admits that she never requested training that she was denied.

Though Plaintiff complains of a low performance evaluation, she

admits that in June 2007, after the disciplinary action from Lt.

Hill and during the time she was allegedly experiencing

retaliatory harassment, Lt. Hill gave Plaintiff a positive

review in which “he was singing [her] praises as a supervisor.”

(April Dep. 119.) This intervening act weakens any causal

connection between these alleged retaliatory incidents and


August 17, 2009, states that Plaintiff took two deputies to lunch on August
17 and 18, 2009, while they were working overtime. (Def.’s Ex. No. D455.)
Plaintiff does not dispute the factual accuracy of the letter. Also in August
2009, Capt. Hill, after receiving a promotion from the rank of lieutenant,
was reassigned to the Courts Administrative Staff. After discussing a
transfer with Plaintiff, Capt. Hill transferred Plaintiff to the Court
Coordinators Office. To the extent that Plaintiff asks the Court to consider
this conduct as evidence of retaliatory harassment, the Court declines to do
so. The purportedly derogatory letter was not from Lt. Hill or Capt.
Yarbrough. Moreover, Plaintiff does not claim that Lt. Hill transferred her
with a retaliatory motive, and there is no evidence of a causal connection
between the transfer and Plaintiff’s EEOC complaints filed almost one year
earlier.


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undermines Plaintiff’s claim that Lt. Hill’s conduct was

sufficiently or pervasive to alter the conditions of her

employment.

     Moreover, though Plaintiff complains that she was denied

reassignment out of the Courts Division in retaliation for her

EEOC charges, Plaintiff admits that Lt. Hill, her direct

supervisor and the alleged primary offender, did not prevent her

from being transferred out of the Courts Division. (Pl.’s Resp.

to Def.’s UMF ¶ 84.) In fact, Plaintiff admits that Lt. Hill

requested that she be transferred out from under his command as

a protective measure following Plaintiff’s notification that she

intended to file a complaint alleging a hostile work

environment. (Def.’s Ex. No. D184.) In addition, Plaintiff’s

complaints regarding reassignment are inconsistent; she

complains that some of her requests for reassignment were

denied, but also complains that other requests were granted.

     Regarding the other instances——where Lt. Hill instructed

Plaintiff to put on her gun belt and directed her to call in

sick during her FMLA leave——these involve Lt. Hill enforcing

SCSO policies.   Plaintiff offers no competent evidence that

these policies were selectively enforced against her in

retaliation for her protected conduct.         Furthermore, she

provides no evidence, other than her own opinion, that these

instructions were unfair, unjust, or abusive.


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     The remaining instances of purported criticism and unfair

treatment by Lt. Hill are best characterized as “ordinary

tribulations of the workplace,” which are not actionable under

Title VII. See Broska, 70 F. App’x at 270 (finding purported

retaliatory harassment not sufficiently severe or pervasive

where employee claimed that supervisors continually monitored

him and subjected his work to criticism). As noted above,

“offhand comments, and isolated incidents,” do not constitute a

hostile environment under Title VII. Faragher, 524 U.S. at 788

(internal citation omitted). Title VII was not meant to be, and

courts must ensure that it does not become, a “general civility

code.” See id. at 788 (citation omitted). “Not everything that

makes an employee unhappy” qualifies as retaliation, for

“[o]therwise, minor and even trivial employment actions that an

irritable, chip-on-the-shoulder employee did not like would form

the basis of a discrimination suit.” Smart v. Ball State

University, 89 F.3d 437, 441 (7th Cir.1996) (internal quotations

and citation omitted). Conduct that a reasonable person would

find neither hostile nor abusive is beyond Title VII's purview.

See Harris, 510 U.S. at 21. The Supreme Court established these

standards “to ensure that Title VII does not become a general

civility code.” Faragher, 524 U.S. at 788.

     The Sixth Circuit has found that allegations similar to

those that Plaintiff makes are insufficiently severe or


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pervasive to support a claim for retaliatory harassment under

Title VII.   See Broska, 70 F. App’x at 270 (supervisor ignored

employee, encouraged coworkers to do the same, criticized her

work, and withheld her mail); Diamond v. U.S. Postal Service, 29

F. App’x 207, 213 (6th Cir. 2002) (supervisors unjustifiably

threatened employee with discipline); see also Baker v. City of

Toledo, Ohio, No. 3:05 CV 7315, 2007 WL 1101254, at *9 (N.D.

Ohio April 11, 2007)(employee was required to take training on

personal time, request a shift change in writing, denied access

to the Chief, given a negative evaluation, and given a traffic

citation all over the course of one year). Where the Sixth

Circuit has found retaliatory harassment to be sufficiently

severe or pervasive, the allegations were far more serious than

those in the instant case. See Morris, 201 F.3d at 793

(supervisor called employee on the telephone over thirty times

to harass her, sat outside her office making faces at her,

followed her home from work and made an obscene gesture at her,

destroyed a television she watched at work, and threw roofing

nails onto her home driveway on several occasions); Jordan v.

City of Cleveland, 464 F.3d 584, 598-99 (6th Cir. 2006) (senior

firefighter was made to do menial and dirty chores usually

reserved for junior firefighters, was denied “acting time,” was

detailed to stations where he was the junior or only black

firefighter, was belittled and branded as “difficult,” had his


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gear stuffed into a basketball hoop and torn, and faced

confrontation and threats not to take his complaints to his

superiors).

       A D.C. Circuit case, Hussain v. Nicholson, is also

instructive. 435 F.3d 359 (D.C. Cir. 2006). In Hussain, the D.C.

Circuit found the plaintiff failed to make a showing that he was

subjected to retaliatory harassment based upon several alleged

retaliatory acts, including: (1) another employee’s appointment

as permanent Chief of Radiation Therapy, (2) heightened

monitoring by supervisors, (3) poor performance evaluations, (4)

delay in forwarding retirement application forms, (5) denial of

counsel during a discussion about retirement and failure to

provide a written copy of retirement options, (6) denial of

access to his personnel file, (7) termination threats, and (8)

failure to address insubordination by other employees.             Id. at

366.   Though noting that the plaintiff’s work environment was

“hardly ideal,” the court concluded that “no reasonable jury

could find it ‘abusive’ . . . .” Id. at 367.

       The instant case is similar.      Though Plaintiff’s work

environment in the Courts Division may not have been ideal,

Title VII is not meant to be a “general civility code.”

Faragher, 524 U.S. at 788 (internal citation omitted).             Though

Plaintiff may have subjectively believed that she was subject to




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retaliatory harassment,27 the Court concludes that no reasonable

jury could find that that the actions of Lt. Hill and Capt.

Yarbrough were were in retaliation for Plaintiff’s EEOC charges

or were sufficiently severe or pervasive to alter the conditions

of employment and create an abusive working environment.28                 In

Plaintiff’s own opinion, the harassing conduct generally

involved “needl[ing] her” over “silly things that [meant]

nothing.” (April Dep. 171.)         The Sixth Circuit has repeatedly

held that minor irritations simply do not amount to severe or

pervasive harassment. See, e.g., Broska, 70 F. App’x at 269

(citing cases).

       Because Plaintiff has failed to demonstrate either a

sufficient retaliatory action or severe or pervasive retaliatory

harassment by a supervisor, she has failed to demonstrate a

prima facie retaliation case.         Accordingly, Defendant’s Motion


27
      Plaintiff’s subjective view that Lt. Hill’s conduct was hostile or
abusive, i.e., whether she subjectively perceived Lt. Hill’s actions to be
severe or pervasive retaliation, is doubtful. Plaintiff testified that,
prior to receiving the disciplinary action in October 2006, she had never
filed an internal complaint with the SCSO because, prior to that time, she
had never been subjected to a hostile work environment. (April Dep. 104-05.)
Thus, Plaintiff’s testimony indicates that she did not subjectively view the
gun-belt incident on August 31, 2006 and the October 9, 2006 meeting in which
Lt. Hill chastised her and accused her of being unprofessional as severe or
pervasive retaliation. Moreover, she characterized the daily criticism and
purportedly harassing conduct of Lt. Hill as “needl[ing]” her about “stupid”
and “silly” things that meant “nothing.”
28
      There are additional problems with the causal connection between Lt.
Hill and Capt. Yarbrough’s purported retaliatory harassment and Plaintiff’s
EEOC complaints. Plaintiff admits that Lt. Hill and Capt. Yarbrough never
said anything to her about her EEOC complaints or made a statement that led
her to believe that they did not like the fact that she had filed EEOC
complaints. (April Dep. 45; March Dep. 205-06.)



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for Summary Judgment is GRANTED as it relates to Plaintiff’s

claim of retaliation.

       D. Title VII Hostile Work Environment Based on Sex Claim

       “In order to establish a prima facie case of hostile work

environment based on sexual harassment, plaintiff must show by a

preponderance of the evidence: (1) that she was a member of a

protected class; (2) that she was subjected to unwelcome sexual

harassment; (3) that the harassment was based on sex; (4) that

the harassment unreasonably interfered with her work performance

by creating a hostile, offensive, or intimidating work

environment; and (5) that there is a basis for employer

liability.” Thornton v. Federal Exp. Corp., 530 F.3d 451, 455

(6th Cir. 2008) (citing Hafford v. Seidner, 183 F.3d 506, 512

(6th Cir. 1999)).

       Defendant takes issue with the fourth element, contending

that Plaintiff has not established that the alleged harassment

was severe or pervasive enough to create a hostile work

environment.29 (Def.’s Mem. 21-22.)

       The same standards by which the Court analyzes Plaintiff’s

retaliatory harassment claims apply to Plaintiff’s hostile work

environment claim. Akers, 338 F.3d at 498 (holding that “the


29
      Defendant’s arguments refer to Plaintiff’s inability to establish
conduct that constituted a discriminatory change in the terms and conditions
of employment. (Def.’s Mem. 21-22.) The facts to which Defendant refers,
however, challenge Plaintiff’s ability to establish the third prong of her
prima facie claim. (Id. at 21.)


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standard for severe or pervasive harassment is the same in the

retaliation context as in the sexual and racial discrimination

contexts”); (see supra part IV.B.2.)

       In support of her sexually hostile work environment claim,

Plaintiff proffers evidence of her meeting with Capt. Yarbrough

on February 27, 2008.30       During this meeting, Capt. Yarbrough

asked Plaintiff is she wanted to be “fixed up” and if she wanted

to be taken to lunch, referred to doing the “bump together” and

began bumping his rear end against a desk. Though Plaintiff did

not interpret Capt. Yarbrough’s reference to “the bump” as

referring to anything other than the dance, she states that the

dance was sexual in nature, which is inappropriate for work and

made Plaintiff uncomfortable. (March Dep. 52; Pl.’s Resp. to

Def.’s UMF ¶ 89.)       Aside from Capt. Yarbrough’s comments on

February 27, 2008, he has never on any other occasion offended

Plaintiff by making a sexual remark in her presence or by making

a comment to her that was offensive to her as a woman. (March

Dep. 46.)


30
      Plaintiff also alleges that she was “made to . . . get under desks
without removing her gun belt, involuntarily transferred, referred to as a
secretary, compared to as [sic] a ‘dog with a problem’, told he [sic] was too
old.” (Pl.’s Resp. 9.) This conduct is either time-barred or has already
been addressed and found not actionable. In addition, the other purported
harassing conduct of which Plaintiff complains is not included in the Court’s
analysis of Plaintiff’s sexual harassment claim because there is no evidence
in the record to suggest that the conduct was committed “because of sex.” See
Morris v. Oldham County Fiscal Court, 201 F.3d 784, 791 (6th Cir. 2000)
(declining to include supervisor’s retaliatory conduct into the hostile work
environment equation because there was no evidence that it was motivated by
plaintiff’s sex).


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     This incident fails to rise to the level of an actionable

hostile work environment because it does not evidence the type

of severe, pervasive, or extreme conduct required for a hostile

workplace claim.     It was a single, isolated instance of

harassment, not the type of ongoing harassment that the Sixth

Circuit has held to be actionable. See, e.g., Clark v. United

Parcel Serv., Inc., 351-52 (6th Cir. 2005) (holding that three

instances of harassment over a period of approximately two-and-

a-half years were insufficient to be severe or pervasive, but

that seventeen instances during the same time period were

sufficient to reverse the district court's grant of summary

judgment in favor of the defendant).          The statements were merely

“offensive utterances” without any “physical invasion” of

Plaintiff’s person. Hawkins v. Anheuser-Busch, Inc., 517 F.3d

321, 334 (6th Cir. 2008) (holding that sexual harassment

involving “physical invasion” is more serious than harassment

involving mere comments).      There is simply no evidence that the

workplace was “permeated with discriminatory intimidation,

ridicule, and insult . . . sufficiently severe or pervasive to

alter the conditions of [Plaintiff’s] employment.” Harris, 510

U.S. at 22 (citations and internal quotations omitted).

     The Court therefore finds that no genuine issue of material

fact exists as to whether a reasonable person would find

Plaintiff’s work environment objectively hostile.               Defendant’s


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Motion for Summary Judgment is GRANTED as it relates to

Plaintiff’s claim of a sexually hostile work environment.31

       E. Title VII Disparate Impact Claim

       In her response to Defendant’s motion for summary judgment,

Plaintiff contends that Defendant has not properly addressed her

disparate impact claim. (Pl.’s Resp. 6 n. 1.)               The only

allegations Plaintiff makes in support of a disparate impact

claim are in her Amended Complaint, where Plaintiff states that

Defendant maintained a policy and practice of discrimination

that resulted in a “disparate impact upon older female Sheriff

[sic] Department employees as a whole.” (Am. Compl. 12.)

       To establish a prima facie case of discrimination under a

disparate impact theory, the plaintiff must (1) identify “a

specific employment practice to be challenged; and (2) through

relevant statistical analysis prove[] that the challenged

practice has an adverse impact on a protected group.”                Isabel v.

City of Memphis, 404 F.3d 404, 411 (6th Cir. 2005).                The “single

specific practice” requirement is eliminated only in

circumstances where “the elements of a respondent’s

31
      Plaintiff also alleges that she was subjected to a hostile work
environment based on age. (Am. Compl. ¶ 5; Pl.’s Resp. 9.) In support of her
claim, Plaintiff alleges that she was told she was “too old” and denied the
opportunity to perform enforcement duties.   (March Dep. 63-65; Pl.’s Resp.
4.) For the same reasons that Plaintiff’s hostile work environment based on
sex claim fails, Plaintiff’s hostile work environment based on age fails.
Plaintiff’s evidence is “not severe or pervasive enough to create an
objectively hostile or abusive work environment” and thus, it is “beyond the
purview of the ADEA.” Harris, 510 U.S. at 22 (1993); see also Crawford v.
Medina Gen. Hosp., 96 F.3d 830, 834 (6th Cir. 1996) (examining hostile work
environment under the ADEA).


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decisionmaking process are not capable of separation for

analysis.” Phillips v. Cohen, 400 F.3d 388, 398 (6th Cir. 2005).

       Plaintiff has offered no evidence of a specific employment

practice of the SCSO responsible for an adverse impact on female

sergeants. Avalos v. Cintas Corp., No. 06-12311, 2010 WL

1417804, at *10 (E.D. Mich. April 5, 2010) (explaining that the

failure to allege a “specific employment practice” that caused

an adverse effect due to the plaintiff’s gender was fatal to her

disparate impact claim).          Accordingly, Defendant’s Motion for

Summary Judge is GRANTED as it relates to Plaintiff’s claim of

disparate impact.

       F. ADEA Age Discrimination Claim

       Age discrimination claims under the ADEA are analyzed under

the same framework as employment discrimination cases under

Title VII. Policastro, 297 F.3d at 538; 29 U.S.C. § 623(a)(1).

To establish a successful discrimination claim under the ADEA,

Plaintiff must present either direct or circumstantial evidence

of discrimination. Anthony v. BTR Automotive Sealing Sys., 339

F.3d 506, 514 (6th Cir. 2003) (citation omitted). Regardless of

whether the evidence is direct or circumstantial, a plaintiff

must demonstrate that she was subjected to an adverse employment

action based on her age.32 Rushton v. City of Warren, 90 F. App’x


32
      Plaintiff was born on December 13, 1956. (Pl.’s Resp. to Def.’s UMF ¶
30.) Thus, she was 48 years old in 2005 when the alleged discrimination
began. Plaintiff has presented no evidence to show that a similarly situated


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912, 916 (6th Cir. 2004). Though Plaintiff generally alleges age

discrimination, she offers no other evidence to support this

allegation.    The only evidence Plaintiff has presented that she

was discriminated against based on her age is a statement by Lt.

Ducrest that Plaintiff was “too old” for enforcement duties.

(March Dep. 63, 64-65; Pl.’s Resp. 4.)           Plaintiff has presented

no competent evidence that she suffered an adverse employment

action based on her age.33 Thus, Plaintiff has failed to produce

facts sufficient to create a jury question with regard to her

age discrimination claim. Accordingly, Defendant’s Motion for

Summary Judge is GRANTED as it relates to Plaintiff’s claim of

age discrimination.

      G. THRA Claim

      Tennessee state courts have “looked to federal case law

applying the provisions of the federal antidiscrimination

statutes as the baseline for interpreting and applying [the

THRA].”   Graves v. Circuit City Stores, Inc., No. 03A01-9501-CH-

00012, 1995 WL 371659, at *2 (Tenn. Ct. App. June 21, 1995)



younger sergeant was treated more favorably than she, nor has she identified
a younger individual to whom she compares herself to establish a prima facie
case of age discrimination based on circumstantial evidence. Assuming
arguendo that Lt. Ducrest’s statement that Plaintiff was “too old” for
enforcement duties amounts to direct evidence of age discrimination,
Plaintiff need not present evidence that a similarly situated individual
outside the protected class was treated more favorably. Nevertheless, she
still must present evidence of an adverse employment action, which Plaintiff
has not done. Rushton, 90 F. App’x at 916.
33
      As discussed above, the SCSO’s alleged denial of Plaintiff’s requests
to perform enforcement duties and work on special details is not an adverse
employment action.


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(citation omitted); see also Moling v. O’Reilly Automotive,

Inc., No. 09-1100, 2011 WL 112586, at *20 (W.D. Tenn. Jan. 13,

2011) (noting that, while the Tennessee Supreme Court’s decision

in Gossett v. Tractor Supply Co., Inc., 320 S.W.3d 777 (Tenn.

2010), calls into question the continuing utilization of the

McDonnell Douglas framework for state retaliation claims, the

standard to be applied at the summary judgment stage is

procedural and thus, the McDonnell Douglas analysis applied to

the plaintiff’s THRA retaliation claim). Therefore, for the same

reasons that the Court grants summary judgment on Plaintiff’s

Title VII claims of sex discrimination, hostile work

environment, and retaliation, and ADEA claims of age

discrimination and hostile work environment, the Court GRANTS

Defendant’s Motion for Summary Judgment on Plaintiff’s parallel

THRA claims.

     H. Intentional Infliction of Emotional Distress Claim

     Though Plaintiff does not expressly allege a claim for

intentional infliction of emotional distress, Plaintiff does

allege that Defendant’s acts “constitute outrageous conduct”

which has caused her mental anguish and emotional distress. (Am.

Compl. 12.) Defendant argues that it is immune from Plaintiff’s

claim for intentional infliction of emotional distress under the

Tennessee Governmental Tort Liability Act (“TGTLA”). (Def.’s

Mem. 23-24 (citing Tenn. Code Ann. § 29-20-205(2)).)             The Court


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agrees.   The Sixth Circuit has held that, pursuant to the TGTLA,

a municipality “is immune from suit” for claims of intentional

infliction of emotional distress. Blakely v. City of

Clarksville, 244 F. App’x 681, 683 (6th Cir. 2007); Tenn. Code

Ann. § 29-20-101 et seq.       Accordingly, Defendant’s Motion for

Summary Judge is GRANTED as it relates to Plaintiff’s claim of

intentional infliction of emotional distress.

       I. Fourteenth Amendment Claim

       Plaintiff’s Amended Complaint states that this action

arises under the Fourteenth Amendment and alleges that Defendant

engaged in “illegal unconstitutional acts.” (Am. Compl. 1, 2.)

In its Motion for Summary Judgment, Defendant argues that, to

the extent that Plaintiff makes a claim under the Fourteenth

Amendment, it should be dismissed for failure to state a claim.

(Def.’s Mem. 22.) In particular, Defendant contends that

Plaintiff’s failure to seek enforcement through some legislative

act, such as 42 U.S.C. § 1983, prevents Plaintiff from stating a

claim for relief under the Fourteenth Amendment.               (Def.’s Mem.

22.)   The Court agrees. Moreover, Plaintiff has not offered any

evidence in support of this claim nor addressed it in her

response to Defendant’s motion.      Accordingly, to the extent that

Plaintiff has asserted a Fourteenth Amendment claim, the Court

GRANTS Defendant’s Motion for Summary Judgment on the claim.

V. CONCLUSION


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     Because Plaintiff has failed to establish a prima facie

case on any of her claims, the Court GRANTS Defendant’s Motion

for Summary Judgment as to all of Plaintiff’s claims.

Accordingly, this case is DISMISSED WITH PREJUDICE in its

entirety.   Further, the Court DENIES as moot Defendant’s pending

Motion to Strike (D.E. 87.)



     IT IS SO ORDERED, this 18th day of February, 2011.

                                  /s/ JON PHIPPS McCALLA
                                  CHIEF UNITED STATES DISTRICT JUDGE




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